






Opinion issued July26,  2007










In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00324-CV






GERMAINE JAMES,  Appellant


V.


GREGORY BALLARD,  Appellee






On Appeal from the 247th District Court

Harris County, Texas

Trial Court Cause No. 2007-03322






MEMORANDUM OPINION	Appellant, Germaine James, has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov't
Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon 2006) (listing fees in court of
appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  After being
notified that this appeal was subject to dismissal, appellant, Germaine James, did not
adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).

	The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.

PER CURIAM

Panel consists of Justices Taft, Jennings, and Alcala.


